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OFFICE OF THE ATTORNEY GENERAL — ;
LETITIA JAMES DIVISION OF STATE COUNSEL
ATTORNEY GENERAL LITIGATION BUREAU

Writer’s Direct Dial: (212) 416-6039

January 11, 2021

VIA ELECTRONIC FILING
Hon. Nelson S. Roman

United States District Court
Southern District of New York
300 Quarropas Street, Room 218
White Plains, NY 10601

Re: — Casarella v. State of New York, et al., 16 Civ. 9531 (NSR) (AEK)
Dear Judge Romdn:
This Office represents the defendants in the above-captioned matter. I write to request an

adjournment of the pre-trial conference from the current scheduled date of January 15, 2021 until
March 18, 2021. Plaintiff consents to this request.

 

This proposed extension is requested because the parties are still engaged in settlement
discussions. As I have just recently appeared in this case, I also need time to gain familiarity
with the remaining claims as well as the documents that will be relevant to discussing a pre-trial
order. This is the second request for an extension of this date. Both parties are also available for
a pre-trial conference on March 19, 2021 and March 25, 2021.

 

Respectfully submitted,

/s/ Rebecca Culley
Rebecca Culley

Assistant Attorney General

Defts' request to adjourn the Pretrial Conf. to be held via teleconference from Jan. 15, 2021 until Mar. 19,
2021 at 2:00 pm is granted upon Pitf's consent. To access the teleconference, please follow these directions:
(1) Dial the Meeting Number: (877) 336-1839; (2) Enter the Access Code: SO ORDERED:
1231334#; (3) Press pound (#) to enter the teleconference as a guest. Clerk an ; . a
of Court requested to terminate the motion (doc. 97). No further extensions, ~~ #0

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Dated: Jan. 11, 2021 HON. NELSONS. ROMAN |
UNITED STATES DISTRICT JUDGE.
28 Liberty Street; New York, New York 10005 e Tel.: (212) 416-8610 @ Fax: (212) 416-6075 (Not For Service of Papers)

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